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  12                        UNITED STATES DISTRICT COURT
  13                      CENTRAL DISTRICT OF CALIFORNIA
  14 CALIFORNIA RIFLE & PISTOL                      Case No.: 2:23-cv-10169-SPG
     ASSOCIATION, INCORPORATED; THE                 (ADSx)
  15 SECOND AMENDMENT FOUNDATION;
     GUN OWNERS OF AMERICA, INC.;                   MEMORANDUM OF POINTS
  16 GUN OWNERS FOUNDATION; GUN                     AND AUTHORITIES IN
     OWNERS OF CALIFORNIA, INC.; ERICK              SUPPORT OF PLAINTIFFS’
  17 VELASQUEZ, an individual; CHARLES              MOTION FOR PRELIMINARY
     MESSEL, an individual; BRIAN WEIMER,           INJUNCTION
  18 an individual; CLARENCE RIGALI, an
     individual; KEITH REEVES, an individual,       Hearing Date: March 13, 2024
  19 CYNTHIA GABALDON, an individual; and           Hearing Time: 1:30 p.m.
     STEPHEN HOOVER, an individual,                 Courtroom: 5C
  20                                                Judge: Hon. Sherilyn Peace Garnett
                       Plaintiffs,
  21              v.
  22 LOS ANGELES COUNTY SHERIFF’S
     DEPARTMENT; SHERIFF ROBERT
  23 LUNA, in his official capacity; LA VERNE
     POLICE DEPARTMENT; LA VERNE
  24 CHIEF OF POLICE COLLEEN FLORES,
     in her official capacity; ROBERT BONTA,
  25 in his official capacity as Attorney General
     of the State of California and DOES 1-10,
  26
                          Defendants.
  27
  28


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   1   I.    INTRODUCTION
   2         California conditions the exercise of the enumerated right to public carry on
   3   the prior issuance of a concealed handgun license (“CCW permit”). But as the
   4   Supreme Court instructs, if such permits are to be required at all, they must be
   5   issued on a “shall issue” basis where, so long as a CCW permit applicant is eligible
   6   to lawfully possess a firearm and satisfies basic, objective, administrative
   7   requirements (such as not being a convicted felon), the issuing authority must issue
   8   the permit.
   9         This action challenges the constitutionality of carry permit issuance policies
  10   that violate the Second Amendment by imposing abusive delays and exorbitant fees
  11   or by prohibiting Plaintiffs from obtaining CCW permits altogether, in
  12   contravention of the express warning of New York State Rifle & Pistol Ass’n, Inc. v.
  13   Bruen, 597 U.S. 1, 38 n.9 (2022) (“Bruen”), that permitting schemes (to the extent
  14   they exist at all) not be “abusive.”
  15         Defendants are contravening the Supreme Court’s ruling in several ways:
  16         (1) The Los Angeles County Sheriff’s Department (“LASD”) takes 18
  17   months or more to issue CCW permits. See Decl. of Richard Minnich in Supp. of
  18   Pls.’ Mot. for Prelim. Inj., ¶ 8; Decl. of Charles Messel in Supp. of Pls.’ Mot. for
  19   Prelim. Inj., ¶ 7; Decl. of Brian Weimer in Supp. of Pls.’ Mot. for Prelim. Inj., ¶¶ 5-
  20   6; Decl. of Jack Skadsem in Supp. of Pls.’ Mot. for Prelim. Inj., ¶ 6; and Decl. of
  21   Woodrow Stalter in Supp. of Pls.’ Mot. for Prelim. Inj., ¶ 6;
  22         (2) To obtain a CCW permit from the La Verne Police Department
  23   (“LVPD”), an applicant must be prepared to spend $1,000 in fees, an oppressive
  24   “poll tax” on the exercise of a constitutional right; and this amount will increase to
  25   approximately $1,200 in 2024. See Decl. of Clarence Rigali in Supp. Of Pls.’ Mot.
  26   For Prelim. Inj., ¶ 5; Decl. of Keith Reeves in Supp. Of Pls.’ Mot. For Prelim. Inj.,
  27   ¶ 5; Decl. of Cynthia Gabaldon in Supp. Of Pls.’ Mot. For Prelim. Inj., ¶ 5; Decl. of
  28   Jim Carlson in Supp. Of Pls.’ Mot. For Prelim. Inj., ¶ 11;
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   1         (3) Both LASD and LVPD engage in forbidden suitability determinations,
   2   i.e., LASD has denied one Plaintiff—not for committing some sort of disqualifying
   3   crime—but rather for being the victim of crime (see Velasquez Decl., passim),
   4   while another member of Plaintiff California Rifle & Pistol Association,
   5   Incorporated (“CRPA”) was denied a CCW permit by LASD because he was
   6   subject to a temporary restraining order which was promptly dissolved after a
   7   hearing. See Decl. of Sherwin David Partowashraf in Supp. of Pls.’ Mot. for Prelim.
   8   Inj., ¶¶ 3-7; and
   9         (4) LVPD requires all applicants to take invasive, time-consuming, and
  10   impermissibly subjective psychological exams, relegating the bearing of arms to
  11   constitutional steerage. See Rigali Decl., ¶¶ 7-11; Reeves Decl., ¶ 6; Gabaldon
  12   Decl., ¶ 6; and Carlson Decl., ¶ 4. As justification for this last obstacle, LVPD cites
  13   California Penal Code section 26190(e),1 which is a state law that allows issuing
  14   authorities to mandate psychological testing if they so choose. Both such
  15   psychological testing itself, and the discretion to mandate it as a qualification for a
  16   permit to exercise a constitutional right, are unconstitutional.
  17         Finally, California law only recognizes CCW permits issued in California,
  18   and does not allow permits to be issued to out-of-state residents, no matter how
  19   often they conduct business in California or are otherwise present in the state.
  20   Plaintiff Hoover is a Florida resident and has a Florida-issued CCW permit.
  21   California does not honor his Florida permit when he visits California, nor may he
  22   obtain a California permit because he is not a California resident. See Decl. of
  23   Stephen Hoover in Supp. of Pls.’ Mot. for Prelim. Inj., ¶ 4; and Cal. Penal Code §
  24   26150(a)(3) (West 2024). In other words, Hoover’s constitutional right ends when
  25   he crosses California’s state line, as if he has entered another country entirely.
  26   Other members of the associational plaintiffs who live outside of California
  27   likewise are denied the right to carry in California, including one who is a retired
  28        This section was designated 26190 (f) prior to the passage of SB 2.
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    1   California prosecutor now living in Nevada, who held California CCW permits for
    2   decades, and who still owns property in California that he visits frequently. See
    3   Decl. of David Broady in Supp. of Pls.’ Mot. for Prelim. Inj., ¶ 3. Such individuals,
    4   who the Second Amendment unabashedly declares possess a broad right to “bear
    5   arms,” are forbidden from carrying in any manner in California under the
    6   challenged law.
    7         No court would tolerate abuses like this for any other constitutional right. If
    8   the right to vote was conditioned on an 18-month registration timeline, a $1,000
    9   registration fee, or subjective psychological testing, an injunction would issue
   10   before the ink dried on a plaintiff’s complaint. Similarly, if a state denied the First
   11   Amendment right of a visiting resident of another state to take Sunday mass, courts
   12   would strike down that law without hesitation. The same relief is required here. The
   13   Second Amendment is not “a second-class right, subject to an entirely different
   14   body of rules than the other Bill of Rights guarantees.” McDonald v. City of
   15   Chicago, 561 U.S. 742, 780 (2010); and Bruen, 597 U.S. at 70.
   16   II.   ARGUMENT
   17         To obtain a preliminary injunction, the moving party must show: (1) a
   18   likelihood of success on the merits; (2) a likelihood of irreparable harm absent
   19   preliminary relief; (3) that the balance of equities tips in his favor; and (4) that an
   20   injunction is in the public interest. Am. Trucking Ass’ns v. City of Los Angeles, 559
   21   F.3d 1046, 1052 (9th Cir. 2009) (quoting Winter v. Nat. Res. Def. Council, Inc., 55
   22   U.S. 7, 20 (2008).
   23         A.     Plaintiffs are likely to succeed on the merits.
   24                1.      Historical analysis under the Second Amendment.
   25         In 2022, the Supreme Court unequivocally reaffirmed the original public
   26   meaning standard for analyzing Second Amendment challenges set forth in District
   27   of Columbia v. Heller, 554 U.S. 570 (2008). Applying that test, the Supreme Court
   28   found that the Second Amendment protects the right to armed self-defense in
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    1   public. Bruen, 597 U.S. at 19, 31-33. The Bruen Court reiterated that courts may
    2   not engage in any form of “intermediate scrutiny” or even “strict scrutiny” in
    3   Second Amendment cases. Id. at 23.
    4         The Supreme Court unambiguously instructed how a proper Second
    5   Amendment analysis is to be conducted by a reviewing court:
    6         We reiterate that the standard for applying the Second Amendment is
              as follows: When the Second Amendment’s plain text covers an
    7         individual’s conduct, the Constitution presumptively protects that
              conduct. The government must then justify its regulation by
    8         demonstrating that it is consistent with the Nation’s historical tradition
              of firearm regulation. Only then may a court conclude that the
    9         individual’s conduct falls outside the Second Amendment’s
              “unqualified command.”
   10
   11   Id. at 24. Lest there be any confusion, the Court explained the burden that the
   12   Second Amendment imposes: “[T]he government must demonstrate that the
   13   regulation is consistent with this Nation’s historical tradition of firearm regulation.”
   14   Id. at 17 (emphasis added); see also id. at 19, 24, 58 n.25, 59 & 70.
   15         Moreover, the government cannot simply proffer just any historical law that
   16   vaguely references firearms (which would be wholly irrelevant to the court’s
   17   analysis under the rules of evidence anyway). Rather, when challenged laws
   18   regulate features, conduct, or circumstances that already existed at the time of the
   19   Founding, the absence of widespread historical laws restricting those same features,
   20   conduct, or circumstances indicates that the Founders understood the Second
   21   Amendment to preclude such regulation. Id. at 27.
   22                2.     Bruen already decided most issues of this case.
   23         Except for California’s refusal to issue permits to out-of-state residents,
   24   discussed infra, the Supreme Court already has repudiated Defendants’ abusive
   25   practices. In a footnote contrasting shall-issue permitting systems with
   26   categorically-impermissible may-issue regimes, the Court explained as follows:
   27
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    1         [Shall-issue permitting systems] appear to contain only “narrow,
              objective, and definite standards” guiding licensing officials,
    2         Shuttlesworth v. Birmingham, 394 U.S. 147, 151, 89 S.Ct. 935, 22
              L.Ed.2d 162 (1969), rather than requiring the “appraisal of facts,
    3         the exercise of judgment, and the formation of an opinion,”
              Cantwell v. Connecticut, 310 U.S. 296, 305, 60 S.Ct. 900, 84 L.Ed.
    4         1213 (1940)—features that typify proper-cause standards like New
              York's. That said, because any permitting scheme can be put toward
    5         abusive ends, we do not rule out constitutional challenges to shall-
              issue regimes where, for example, lengthy wait times in processing
    6         license applications or exorbitant fees deny ordinary citizens their
              right to public carry.
    7
        Bruen, 597 U.S. at 38 n.9 (emphasis added).
    8
    9         It is all but certain that Defendants will fail to proffer evidence showing a
   10   representative historical tradition of forcing citizens to wait 18 months or pay over
   11   $1,000 in fees before exercising the right to carry, or any laws denying the right to
   12   carry based on subjective suitability determinations like psychoanalysis or crime
   13   victimhood status. There is no need for a drawn-out historical analysis in this case.
   14                3.    LASD’s lengthy waiting periods are unconstitutional.
   15         To call LASD’s permitting delays egregious would be an understatement. By
   16   taking over 18 months—one and a half years of Plaintiffs’ lives—to complete an
   17   entirely ministerial task, LASD has created precisely the “lengthy wait times in
   18   processing license applications … [that] deny ordinary citizens their right to public
   19   carry” that Bruen prohibited. 597 U.S. at 38 n.9; and see Messel Decl., ¶ 7; Weimer
   20   Decl., ¶¶ 5-6; Skadsem Decl., ¶ 6; and Stalter Decl., ¶ 6. To make matters worse,
   21   LASD has compounded these constitutionally and morally intolerable waiting
   22   periods by delaying applicants’ previously scheduled appointments by an additional
   23   six months. See Minnich Decl., ¶ 7.
   24         To put the absurdity of this rights-denial regime into perspective, LASD
   25   expects applicants to wait up to 24 months to be granted permission to exercise a
   26   right already enumerated in the Constitution. In that timeframe, applicants can plan
   27   to have a child, have that child, and then watch as their baby begins walking and
   28   talking – but they cannot protect that new family in public, regardless of their
                                                  5
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    1   objective eligibility. Indeed, engaging in the slow, deliberate process of raising the
    2   next generation evidently is easier to accomplish than stamping an approval on a
    3   sheet of paper.
    4         Of course, the premise that Plaintiffs must submit to a permitting process to
    5   exercise a natural right clearly articulated in the plain text of the Constitution – on
    6   pain of criminal consequences – is historically and therefore constitutionally
    7   unsound. The Founders never conditioned the right to public carry on government
    8   licensure, a thoroughly modern invention that “does not provide insight into the
    9   meaning of the Second Amendment when it contradicts earlier evidence.” Bruen,
   10   597 U.S. at 66 n.28. Accordingly, a majority of states have recognized this
   11   historical reality and corrected their ahistorical permitting regimes via
   12   “constitutional carry” legislation where no permit is required to “bear arms.”
   13         Odious to the original meaning of the Bill of Rights as permitting regimes
   14   may be, many states that continue to require some form of carry licensure impose
   15   no waiting periods at all. For example, Cumberland County, Pennsylvania issues
   16   Pennsylvania Licenses to Carry Firearms almost instantaneously, even with a
   17   required background check. See License to Carry Firearms, Cumberland Cnty., Pa.
   18   https://www.cumberlandcountypa.gov/3094/License-to-Carry-Firearms (last visited
   19   Jan. 24, 2024), a copy of which is attached to the Req. for Judicial Not. in Supp. of
   20   Pls.’ Mot. for Prelim. Inj. (”RJN”) as Ex. A. Applicants can choose to either apply
   21   online, or on paper in person, where they wait on the premises until the background
   22   check clears and the permit is printed. Many state sheriffs across the country
   23   operate similarly—walk in, complete a background check, and walk out a few
   24   minutes later with a permit.
   25         LASD may demur that it is moving as quickly as it can, but is simply
   26   overwhelmed. But in numerous contexts, the Constitution forecloses conditioning
   27   the exercise of rights on lengthy waiting periods. See, e.g., Rogers v. Hacker, 2023
   28   WL 5529812, at *8 (S.D. Ill. Aug. 28, 2023) (finding a waiting period of five
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  1   months to issue a firearm owners ID card constituted a concrete injury); Memorial
  2   Hospital v. Maricopa County, 415 U.S. 250, 263-64 (1974) (an Arizona statute
  3   imposing a one-year waiting period for new residents to become eligible for state
  4   medical assistance impermissibly interfered with the constitutional right to freedom
  5   of interstate immigration). In Cooper v. Aaron, 358 U.S. 1 (1958), the Supreme
  6   Court was confronted with similar bureaucratic foot dragging in implementing
  7   public school integration. Much like California localities’ disparate degrees of
  8   Bruen compliance today, some parts of Arkansas’ government were acting in good
  9   faith, while others were not. See Compl., ¶¶ 4-6, 78-91, ECF No. 1. Given the open
 10   defiance of the Supreme Court’s opinion in Brown I2 and Brown II, 3 the Court did
 11   not tolerate finger-pointing, simply observing that “delay in any guise in order to
 12   deny . . . constitutional rights . . . could not be countenanced, and that only a prompt
 13   start, diligently and earnestly pursued . . . could constitute good faith compliance.”
 14   358 U.S. at 7.
 15         When it comes to exercising a constitutional right, LASD’s purported
 16   internal delays are neither Plaintiffs’ nor any applicants’ problem. If issuing
 17   permits to law-abiding gun owners is such a burdensome task, then California may
 18   accord with early historical tradition and join states like Arizona, Vermont, and
 19   Utah – dispensing with the permit requirement altogether and becoming a
 20   constitutional carry state.
 21         It seems axiomatic that a state may not deliberately impose roadblocks to the
 22   exercise of enumerated rights. Yet LASD’s interview process is “prophylaxis upon
 23   prophylaxis” (FEC v. Wisc. Rt. to Life, Inc., 551 U.S. 449, 478-79 (2007)),
 24   designed merely to cause delay, cost, and consternation to applicants, without
 25   providing any information useful to a “shall issue” permitting regime. To even
 26   apply for a CCW permit, one must specifically identify firearms that they own and
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              Brown v. Board of Education, 347 U.S. 483 (1954).
 28        Brown v. Board of Education, 349 U.S. 294 (1955).
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  1   intend to have listed on that permit. To purchase a firearm to list on that permit,
  2   applicants already will have undergone a criminal background check and a check
  3   for incidents of mental health hospitalization as a prerequisite of purchase. See
  4   Silvester v. Harris, 843 F.3d 816, 825 (9th Cir. 2016), overruled in part on other
  5   grounds by Baird v. Bonta, 81 F.4th 1036, 1043 (9th Cir. 2023); see also Cal. Penal
  6   Code § 28220 (West 2024). And if any CCW applicant has engaged in
  7   disqualifying conduct since that purchase, they already will have been placed on the
  8   State’s Armed Prohibited Persons System list. Cal. Penal Code §§ 30000, et seq.
  9   (West 2024). Furthermore, the criminal background and mental health check
 10   process is automatically conducted again once the CCW permit application is
 11   submitted. Id. §§ 26202 & 26150(a)(1) (West 2024). LASD’s interview process
 12   therefore is redundant, and provides no additional useful objective information
 13   about an applicant’s qualification to carry. To the extent it would help LASD issue
 14   permits within a constitutionally permissible time period, the unnecessary and
 15   entirely unhelpful interview process can and should be permanently enjoined.
 16         This Court also need not agonize over what is or is not a “lengthy wait time”
 17   under Bruen, because California has already set an upper-bound time limit on CCW
 18   permit issuance which is flouted by LASD. Under recently revised Penal Code
 19   section 26205, operative in January of 2024, a licensing authority:
 20         shall give this notice [of approval or denial of a CCW permit] within
            120 days of receiving the completed application for a new license, or
 21         30 days after receipt of the information and report from the
            Department of Justice described in paragraph (2) of subdivision (a) of
 22         Section 26185, whichever is later. The licensing authority shall give
            this notice within 120 days4 of receiving the completed application for
 23         a license renewal.
 24   (Emphasis added).
 25         To be sure, Plaintiffs do not believe a waiting period of four months to
 26   exercise a right is remotely constitutional—according to controlling early historical
 27   tradition (where no permit was ever required), or when compared to other
 28        The 120-day time limit was 90 days prior to the passage of SB 2.
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  1   enumerated rights (where no permit is required). Yet it is notable that, even outside
  2   the Bruen framework, California law mandates a 120-day maximum period for
  3   issuance or denial, and LASD is not complying even with that limit. Given some
  4   CRPA members have waited over 18 months (see Messel Decl., ¶ 7; Weimer Decl.,
  5   ¶¶ 5-6; Skadsem Decl., ¶ 6; and Stalter Decl., ¶ 6), LASD adhering to even the
  6   statutory period would provide dramatic relief.
  7         Thus, this Court should, at a minimum, and in accordance with the statute,
  8   order LASD to comply with the statute, and issue permits once applicants have
  9   completed their background check and CCW training course 5 or on day 121 from
 10   application submission, whichever is later. In the free speech context, an individual
 11   “faced with such an unconstitutional licensing law may ignore it and engage with
 12   impunity in the exercise of the right of free expression for which the law purports to
 13   require a license.” Shuttlesworth v. City of Birmingham, 394 U.S. 147, 151 (1969).
 14   The same principle should apply here. See Bruen, 597 U.S. at 70 (warning the
 15   Second Amendment is not “a second-class right”). In other words, unless and until
 16   LASD can bring its actions into constitutional compliance (if a permitting system
 17   can even achieve that standard), no permit should be required.
 18         After attempting informal resolution of these issues, CRPA purposefully held
 19   off on this litigation to give LASD time to come into compliance with Bruen.
 20   Indeed, many other sheriff’s departments have improved their processing times. See
 21
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              Based on recent events, even the required training course has become more
 22   constitutionally suspect. Just a few weeks ago, the California Department of Justice
      launched a bizarre attack against CCW training course providers, implementing
 23   new “emergency” regulations that disqualify the great majority of them. This latest
      Second Amendment attack will only exacerbate the waiting times issue. See Jim
 24   Guy, California concealed weapons instructors pushed out by new rules, causing
      shortage, Fresno Bee, Jan. 9, 2024, https://www.fresnobee.
 25   com/news/california/article283842733.html, (last visited Jan. 13, 2024).
 26          Plaintiffs CRPA and GOC submitted a comment letter to notify DOJ of the
      issues the new rules would cause, to no avail. CRPA & GOC File Comments on
 27   Proposed DOJ CCW Regulations, CRPA.org, Dec. 19, 2023, https://crpa.org/news/
      blogs/crpa-goc-files-comments-on-proposed-doj-ccw-regulations/, (last visited Jan.
 28   13, 2024).
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  1   Minnich Decl., ¶ 5. Unfortunately, LASD’s wait times got worse, not better. It is
  2   now time for LASD to finally start issuing permits promptly and, at a minimum,
  3   within the bounds of California law, even if not the Second Amendment.
  4                4.     La Verne’s fees are unconstitutional.
  5          When LVPD’s exorbitant CCW permit fees were announced, they were so
  6   shocking that they inspired news articles. See, e.g., Jake Fogelman, California City
  7   to Charge More Than $1,000 for Gun Carry Permits, The Reload, Mar. 1, 2023,
  8   https://thereload.com/california-city-charges-more-than-1000-for-gun-carry-
  9   permits/ (last visited Jan. 4, 2024).
 10          Broken down item by item, La Verne’s current fee schedule includes $398
 11   for “processing,” $100 for administrative fees, a $93 licensing fee, $20 for livescan
 12   (but this “may be subject to additional fees”), $150 for the psychological exam that
 13   the City requires, and $175 (estimated) for the training course. See La Verne Police
 14   Department CCW Fee Schedule, https://docs.google.com/document/d/1g_o
 15   OI4RbXAmUa3SiqwhFTvlBaY5ZIs_VOUtSdQocOEU/preview (last visited Jan.
 16   23, 2024), a copy of which is attached as Ex. B to the RJN.
 17          In a best-case scenario, if the fees do not go any higher than LVPD states, an
 18   applicant will pay $936 to exercise the constitutional right to bear arms. Yet it is
 19   Plaintiffs’ understanding that, in line with recent changes to California law that
 20   lifted the $150 maximum that could be charged for the psychological examination,
 21   La Verne may increase the cost of the examination to $400. See Minnich Decl., ¶
 22   11. If that happens, applicants will soon be expected to shell out almost $1,200 to
 23   exercise an enumerated right. According to counsel for the La Verne defendants,
 24   the City Council has not yet decided whether the fee for the psychological exam
 25   will increase. See Decl. of Konstadinos T. Moros in Supp. of Pls.’ Mot. for Prelim.
 26   Inj., ¶ 2.
 27          Whether $900 or $1,200, this is dramatically more (many orders of
 28   magnitude more) than what citizens of other states pay. For example, in Arizona,
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  1   where applying for a permit is entirely optional because Arizona is a constitutional
  2   carry state, the application fee is $60 plus the cost of fingerprinting that must be
  3   submitted with the application. See Concealed Weapons & Permits, Ariz. Dep’t of
  4   Pub. Safety, https://www.azdps.gov/services/public/cwp (last visited Jan. 23, 2024),
  5   a copy of which is attached as Ex. C to the RJN.
  6         In Texas, another constitutional carry state, the application fee is $40. See
  7   Licensing & Registration, Tex. Dep’t of Pub. Safety, https://www.dps.texas.gov/
  8   section/handgun-licensing/licensing-registration (last visited Jan. 23, 2024), a copy
  9   of which is attached as Ex. D to the RJN. Likewise, Utah charges $53.25 for Utah
 10   residents, and $63.25 for nonresidents. See How do I Apply for a Concealed
 11   Firearm Permit?, Utah Dep’t of Pub. Safety, https://bci.utah.gov/concealed-
 12   firearm/how-do-i-apply-for-a-concealed-firearm-permit (last visited Jan. 23, 2024),
 13   a copy of which is attached as Ex. E to the RJN. Washington State charges $36 plus
 14   fingerprinting fees. See Fees: Firearms, Wash. St. Dep’t of Licensing,
 15   https://www.dol.wa.gov/professional-licenses/firearms-dealers/fees-firearms-
 16   dealers (last visited Jan. 23, 2024), a copy of which is attached as Ex. F to the RJN.
 17         While California CCW permit fees generally are costlier than other
 18   jurisdictions across the country, the fees La Verne charges eclipse even other
 19   issuing authorities within California. LASD, for example, charges a $43 initial fee,
 20   a $170 issuance fee, plus the cost of training and livescan, which applicants do on
 21   their own through a third party. See Los Angeles County Sheriff’s Department
 22   Concealed Carry Weapon License, Permitium, https://lasd.permitium.com/entry
 23   (last visited Jan. 23, 2024), a copy of which is attached as Ex. G to the RJN. La
 24   Verne’s next-door neighbor Glendora charges only $243 in total for processing
 25   (including livescan) despite having a comparable population and resources. See
 26   Glendora Police Department License to Carry a Concealed Weapon, Permitium,
 27   https://glendorapdca.permitium.com/ccw/start (last visited Jan. 23, 2024), a copy of
 28   which is attached as Ex. H to the RJN.
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  1         Several other examples of jurisdictions with significantly less onerous
  2   application fees were provided in the Complaint at ¶ 98. Moreover, none of the
  3   examples listed above or in the Complaint requires a psychological exam, which
  4   saves applicants $150, not to mention their time, dignity, and additional violation of
  5   their rights. Finally, permit renewal fees are generally under $100, while La Verne
  6   still charges $348 for renewals every two years, plus the cost of the training course.
  7         While most applicants in California will spend around $400-$600 to get their
  8   permits—already an unconstitutional impediment to exercise a right—such a cost is
  9   a comparative bargain compared to LVPD’s astronomical $1,000 price tag for
 10   government permission to bear arms in public.
 11         A similarly exorbitant fee to exercise Second Amendment rights was already
 12   rejected as unconstitutional, pre-Bruen, under a less stringent standard. The
 13   Northern Mariana Islands had previously placed a $1,000 excise tax on handguns in
 14   a move, like La Verne’s, either to chill the exercise of a constitutional right or at
 15   least to limit it to a more privileged segment of the population. That tax imposed “a
 16   tremendous burden on the rights of responsible law-abiding citizens in the CNMI to
 17   obtain handguns.” Murphy v. Guerrero, 2016 WL 5508998, at *24 (D. N. Mar. I.
 18   Sept. 28, 2016). If $1,000 is too much of a burden on the right to keep arms, then
 19   such an expense is equally unacceptable bearing those arms. Decided prior to
 20   Bruen, the Murphy Court made the (now forbidden) finding that, even under
 21   interest balancing, “[p]ublic safety cannot be the legitimate interest, unless the
 22   [City] seeks to safeguard the community by disarming the poor.” Id. at 82.
 23         La Verne likely will argue that it is simply passing its costs on to applicants.
 24   That argument fails for two reasons. First, the Bruen Court clearly disapproved of
 25   “exorbitant fees [that] deny ordinary citizens their right to public carry.” Bruen, 597
 26   U.S. at 38 n.9 (emphasis added). It does not matter if La Verne is merely charging
 27   its own costs, if those costs effectively deny ordinary citizens their right to carry. At
 28   a time when nearly 4 in 10 Americans would not be able to afford a $400
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  1   emergency expense, LVPD’s exorbitant fees price many would-be applicants out of
  2   California’s unconstitutional black market for constitutional rights. See Rigali
  3   Decl., ¶ 5; Reeves Decl., ¶ 5; and Gabaldon Decl., ¶ 5; see also Will Daniel,
  4   ‘Turbulence ahead’: Nearly 4 in 10 Americans lack enough money to cover a $400
  5   emergency expense, Fed survey shows, Fortune Mag., May 23, 2023,
  6   https://fortune.com/2023/05/23/inflation-economy-consumer-finances-americans-
  7   cant-cover-emergency-expense-federal-reserve/ (last visited Jan. 5, 2024).
  8         Even pre-Bruen cases, decided before the Supreme Court clarified the
  9   sanctity of the carry right, implicitly recognized that $1,000 is a constitutionally
 10   unreasonable sum to charge for a CCW permit. In Kwong v. Bloomberg, 723 F.3d
 11   160 (2d Cir. 2013), the CCW permit application fees there were “designed to defray
 12   (and not exceed) the administrative costs associated with the licensing scheme” and
 13   were therefore deemed acceptable. See id. at 165-69. But the fees in Kwong totaled
 14   a mere $350 for a permit valid for three years, not two. La Verne’s fee scheme is
 15   drastically more expensive by comparison: “[W]e find it difficult to say that the
 16   licensing fee, which amounts to just over $100 per year, is anything more than a
 17   ‘marginal, incremental or even appreciable restraint’ on one’s Second Amendment
 18   rights—especially considering that plaintiffs have put forth no evidence to support
 19   their position that the fee is prohibitively expensive.” Id. at 167.
 20         Here, Plaintiffs have presented such evidence. See Rigali Decl., ¶ 5; Reeves
 21   Decl., ¶ 5; and Gabaldon Decl., ¶ 5; La Verne Police Department CCW Fee
 22   Schedule, Ex. B to the RJN (fees are a minimum of $436 per year, and increasing to
 23   $600-plus once SB 2 fee increases allow the psychological exam fee to be
 24   increased). Although Kwong was decided pre-Bruen when courts still wrongly
 25   believed that a law was permissible if it did not completely eliminate or destroy the
 26   Second Amendment right, even under Kwong’s less constitutionally-faithful
 27   reasoning, it undercuts any argument La Verne could make to justify its exorbitant
 28   costs, whether “passed on” or otherwise.
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  1         Second, in other constitutional contexts, courts uniformly have held that fees
  2   cannot inhibit people from exercising their rights. In the First Amendment context,
  3   for example, “[a]lthough a permit fee may be allowed for the limited purpose of
  4   covering administrative costs, such administrative costs are normally minor and
  5   unlikely to inhibit anyone from exercising his or her First Amendment rights. . . .
  6   The imposition of police costs, however, will frequently create a substantial
  7   financial burden.” Invisible Empire Knights of Ku Klux Klan v. City of W. Haven,
  8   600 F. Supp. 1427, 1434 (D. Conn. 1985) (citing U. S. Lab. Party v. Codd, 527
  9   F.2d 118, 119 (2d Cir. 1975)).
 10         Likewise, in the context of free and fair elections, imposing high fees for
 11   candidates to access the ballot is unconstitutional even under repudiated interest
 12   balancing because, “[b]y requiring candidates to shoulder the costs of conducting
 13   primary elections through filing fees and by providing no reasonable alternative
 14   means of access to the ballot, the [State] has erected a system that utilizes the
 15   criterion of ability to pay as a condition to being on the ballot, thus excluding some
 16   candidates otherwise qualified and denying an undetermined number of voters the
 17   opportunity to vote for candidates of their choice.” Bullock v. Carter, 405 U.S. 134,
 18   149 (1972). Just as in Bullock, “[t]he city’s interest in recouping the costs of its
 19   already existing duty of protecting its citizens in the exercise of their constitutional
 20   rights cannot justify the massive burden [the expense] imposes upon those rights.”
 21   Id.
 22         In sum, LVPD’s exorbitant fees are odious to the Second Amendment,
 23   contrary to Bruen, and would violate the exorbitant-fee principles used in the
 24   context of other constitutional rights.
 25                5.     LASD’s discretionary denials are unconstitutional.
 26         Bruen expressly forbids discretionary criteria in CCW permit issuance.
 27   Bruen, 597 U.S. at 38 n.9. This prohibition is hardly surprising, as it is in line with
 28   First Amendment jurisprudence and other constitutional rights subject to permit
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  1   processes. See Shuttlesworth v. City of Birmingham, 394 U.S. 147 (1969),
  2   Schneider v. New Jersey, 308 U.S. 147 (1939), and Staub v. City of Baxley, 355
  3   U.S. 313 (1958). In contrast, Bruen discusses “narrow, objective, and definite”
  4   standards, perhaps to include something like the DOJ’s background check, and
  5   confirmation that applicants have completed a training course. Regardless, Bruen
  6   flatly prohibits standards that require the “appraisal of facts, the exercise of
  7   judgment, and the formation of an opinion.” Bruen, 597 U.S. at 38 n.9. Both LASD
  8   and LVPD flout this requirement through their discretionary criteria.
  9         For example, LASD denied one plaintiff a CCW permit renewal because he
 10   was the victim of a crime. See Velasquez Decl., ¶¶ 6-10.6 Another CRPA member
 11   was denied a CCW permit because a temporary restraining order was filed against
 12   him, even though that order was promptly dissolved upon a hearing and his
 13   firearms were returned to him. See Partowashraf Decl., ¶¶ 3-7. Both were told they
 14   may not appeal these subjective denials.
 15         LASD is thus still behaving as if it may deny an enumerated right based on
 16   the thinnest of pretexts. It may not. Under Bruen, issuing authorities are not
 17   empowered to “decide not to issue a permit or license for a firearm based on that
 18   official’s discretionary assessment of the applicant’s ‘good moral character’ . . .
 19   permitting denial of a firearms license based on a government official’s ‘good
 20   moral character’ or ‘good cause’ assessment has the effect of ‘prevent[ing] law-
 21   abiding citizens with ordinary self-defense needs from exercising their right to keep
 22   and bear arms.’” Srour v. New York City, 2023 WL 7005172, at *14 (S.D.N.Y. Oct.
 23   24, 2023) (citing Bruen, 597 U.S. at 69).
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               If being the victim of firearm theft is sufficient grounds to deny the right to
 25   carry, then many LASD personnel would also need to be disarmed, given that “at
      least 103 L.A. County Sheriff’s Department guns, ranging from service handguns to
 26   shotguns, were lost or stolen [between 2011 and 2016].” Tony Saavedra, Police
      might not know where their guns are, and the law says that’s OK, Orange Cnty.
 27   Reg. (Cal.), Sept. 28, 2016, https://www.ocregister.com/2016/09/28/police-might-
      not-know-where-their-guns-are-and-the-law-says-thats-ok/amp/ (last visited Jan.
 28   24, 2024).
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  1         While the Plaintiffs and declarants in this matter are each model citizens,
  2   even if some government official believed otherwise, that subjective belief alone is
  3   not reason enough to deny them CCW permits. More than just “model” citizens
  4   have the right to bear arms. District of Columbia v. Heller, 554 U.S. at 580
  5   (defining “the people”); United States v. Daniels, 77 F.4th 337, 342 (5th Cir. 2023).
  6   Background checks may not become subjective tests where the police allow only
  7   “desirables” to exercise their rights.
  8         Bruen’s flat bar against subjective tests is not only constitutionally required,
  9   but necessary based on historical experience. In prior eras, hostile state
 10   governments tried to stop various disfavored groups from being armed. One
 11   example is freed former slaves during Reconstruction. President Grant complained
 12   in a letter to Congress that the Ku Klux Klan’s objectives were “by force and terror,
 13   to prevent all political action not in accord with the views of the members, to
 14   deprive colored citizens of the right to bear arms . . . and to reduce the colored
 15   people to a condition closely akin to that of slavery.” H.J., 42nd Cong., 2d Sess.
 16   716 (1872) (emphasis added). The few permitting laws of the 19th century that did
 17   spring up were often meant to stop Black Americans from being armed. See, e.g.,
 18   Watson v. Stone, 4 So.2d 700, 703 (1941) (Buford, J., concurring) (discussing an
 19   1893 repeating rifle permitting law that “was passed for the purpose of disarming
 20   the negro laborers. . . . The statute was never intended to be applied to the white
 21   population and in practice has never been so applied. … there has never been,
 22   within my knowledge, any effort of enforce the provisions of this statute as to white
 23   people, because it has been generally conceded to be in contravention to the
 24   Constitution and non-enforceable if contested.”).
 25         The odious and obviously unconstitutional goal of disarming citizens based
 26   on race or ethnicity, through use of discretionary denials of permits, may seem
 27   anachronistic, but the only concrete way to ensure that Defendants are not engaged
 28   in impermissibly subjective assessments is to strike down all such subjective
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  1   assessments. In the context of exercising constitutional rights, the use of
  2   discretionary and subjective criteria should be considered per se government
  3   misconduct. Under a true “shall issue” permit regime, if someone can pass a
  4   background check and perhaps meet a requisite training standard, they receive their
  5   CCW permit regardless of the druthers of government officials. History demands as
  6   much, given that permitting of this sort did not even exist prior to the 20th century.
  7   As Bruen teaches, any such system may not be operated in a way that excludes
  8   people from their rights arbitrarily.
  9                6.     LVPD’s psychological exam is unconstitutional.
 10         LVPD’s psychological examination requirement fails for similar reasons that
 11   LASD’s discretionary denials fail. A psychological exam is inherently subjective
 12   and discretionary, particularly when there is no process to appeal or get a second
 13   opinion. LVPD’s examination is abusive in other ways too, appearing designed to
 14   dissuade applicants from even applying. The exam is administered at a facility in
 15   San Bernardino on weekdays, thereby excluding those who may be unable to take
 16   time off work during normal business hours. See Carlson Decl., ¶ 4. That drive
 17   takes approximately an hour each way for a typical La Verne resident. Id. The
 18   facility that applicants are required to use was designed to test applicants applying
 19   for roles in law enforcement, not citizens exercising their Second Amendment
 20   rights. See Psychological Assessment, City of La Verne Police Dep’t,
 21   https://www.lvpd.org/uploads/Psychological%20Assesment.pdf (last visited Jan.
 22   23, 2024), a copy of which is attached as Ex. I to the RJN.
 23         Yet for reasons having no grounding in science or empirical evidence, LVPD
 24   requires CCW permit applicants to take a psychological exam asking applicants the
 25   same questions that are used to screen its law enforcement personnel. Applicants
 26   are then interviewed by a psychologist, who ultimately makes a recommendation to
 27   the City based on that individual psychologist’s subjective impressions as to
 28   whether the person should be entrusted with Second Amendment rights.
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  1         The psychological exam process also violates due process protections, as
  2   deprivation of life, liberty, or property on grounds of mental illness must be
  3   conditioned on full due process rights, including judicial hearings, evidentiary
  4   standards, the right to call supporting witnesses, and the right of appeal. See
  5   generally Addington v. Texas, 441 U.S. 418 (1979). The current scheme of
  6   psychological exams required by LVPD has no such safeguards.
  7         Nothing in the Second Amendment requires Plaintiffs to subject themselves
  8   to the indignity of a subjective exam as a precondition to exercise their
  9   constitutional rights. See Rigali Decl., ¶¶ 7-11; Reeves Decl., ¶ 6; and Gabaldon
 10   Decl., ¶ 6. As such, such a subjective determination is inherently in conflict with
 11   the Second Amendment See Bruen, 597 U.S. at 38 n.9. This Court should enjoin
 12   Penal Code section 26190(g), which allows psychological examinations at the
 13   issuing authority’s discretion.
 14                7.     California must recognize out-of-state CCW permits.
 15         Plaintiffs should not be required to endure the expenses, arbitrary and
 16   pretextual requirements, delays, and other abuses imposed on them by local
 17   governments that refuse to recognize or honor their residents’ Second Amendment
 18   rights. A city or county that never issued permits previously and completely denied
 19   its citizens any right to carry until Bruen (and only grudgingly purports to issue
 20   them now) is foreseeably unlikely to faithfully, promptly, and constitutionally
 21   respect the rights of its citizens going forward. To expect holdout local
 22   governments to follow Bruen and respect the Second Amendment, absent those
 23   governments being the direct targets of costly and lengthy lawsuits such as this, is
 24   akin to expecting all states to have immediately respected and complied with Brown
 25   I. History bears out that such an expectation, sadly, has been a folly. Cooper v.
 26   Aaron, 358 U.S. 1 (1958). Expecting as much now from recalcitrant cities as to
 27   CCW permits would be an equal folly.
 28       No other constitutional right ends at state borders. Yet non-Californians have
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  1   no ability to exercise the right to carry in this state, including Plaintiff Hoover. See
  2   Hoover Decl., ¶ 4. Members of the associational Plaintiffs are also affected,
  3   including one who is a former California Deputy District Attorney who had a CCW
  4   permit in this state for decades, but now lives in Nevada. See Broady Decl., ¶ 3. In
  5   addition, some of the Plaintiffs here, as well as other members of the associational
  6   Plaintiffs, are California residents who have permits issued by other states which
  7   California refuses to honor. See Rigali Decl., ¶ 5; Reeves Decl., ¶ 4; and Minnich
  8   Decl., ¶ 14.
  9           An analogous issue was already decided in 2015. Because Ohio would not
 10   allow for same-sex marriages, James Obergefell and John Arthur decided to marry
 11   in Maryland. After learning that Ohio would not recognize their marriage, they filed
 12   a lawsuit. The Supreme Court ultimately held that the Fourteenth Amendment
 13   requires a State to recognize a marriage between two people of the same sex when
 14   their marriage was lawfully licensed and performed out-of-state. Obergefell v.
 15   Hodges, 576 U.S. 644, 681 (2015). In reaching this conclusion, the Court explained
 16   that:
 17           For some couples, even an ordinary drive into a neighboring State to
              visit family or friends risks causing severe hardship in the event of a
 18           spouse’s hospitalization while across state lines. In light of the fact that
              many States already allow same-sex marriage—and hundreds of
 19           thousands of these marriages already have occurred—the disruption
              caused by the recognition bans is significant and ever-growing. As
 20           counsel for the respondents acknowledged at argument, if States are
              required by the Constitution to issue marriage licenses to same-sex
 21           couples, the justifications for refusing to recognize those marriages
              performed elsewhere are undermined.
 22
 23   Id. at 680-81. This holding and its logic, with respect to an unenumerated
 24   Substantive Due Process right to marry, should apply with equal force to the
 25   enumerated right to bear arms found in the Second Amendment. Indeed, the danger
 26   present “in an ordinary drive into a neighboring State” is even greater when it
 27   comes to the right to carry. While it did not occur in California, a recent example is
 28   illustrative of the precarious situation that Americans with carry permits face when
                                                  19
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  1   they cross into a state that does not recognize other states’ permits. Lloyd Muldrow,
  2   a marine veteran and self-defense instructor, stopped an attack by an armed
  3   assailant in a Baltimore bar by using his concealed weapon. “[P]olice thanked him
  4   — and then they arrested him. . . . Mr. Muldrow, a North Carolina security
  5   specialist, holds a concealed weapons permit, but it was issued in Virginia, not
  6   Maryland,” and Maryland does not honor the permit. See Valerie Richardson and
  7   Matt Delaney, Baltimore police arrest ‘good guy with the gun’ who stopped armed
  8   attacker, Wash. Times (D.C.), Sept. 2, 2022, https://www.washingtontimes.com/
  9   news/2022/sep/2/good-samaritan-faces-charges-after-stopping-armed-/ (last visited
 10   Jan. 17, 2024).
 11         Separately from Plaintiffs’ Second Amendment claim, the United States
 12   Supreme Court has also and consistently held that regulations and classifications
 13   that impose a penalty or an impermissible burden on the right to travel violate the
 14   Equal Protection Clause of the Fourteenth Amendment, unless absolutely necessary
 15   to promote a compelling government interest. See Saenz v. Roe, 526 U.S. 489, 501-
 16   02 (1999); and Shapiro v. Thompson, 394 U.S. 618, 629-30 (1969). Accordingly,
 17   California’s policy of denying out-of-state residents the ability to lawfully exercise
 18   their constitutionally protected right to be armed in public inhibits the free interstate
 19   passage of citizens and violates equal protection doctrines by treating Americans
 20   differently merely on account of their state of residency.
 21         Furthermore, the Privileges and Immunities Clause of Article IV, § 2 of the
 22   Constitution provides that “[t]he Citizens of each State shall be entitled to all
 23   privileges and immunities of Citizens in the several States.” The Privileges and
 24   Immunities Clause bars discrimination against citizens of other states based on their
 25   status as a citizen of another state. See Toomer v. Witsell, 334 U.S. 385, 397-98
 26   (1948). California’s refusal to honor the CCW permits/licenses issued by its sister
 27   states is frustrating this constitutionally mandated policy.
 28       While the application of privileges and immunities and equal protection for
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  1   out-of-state residents seeking to carry has not yet been adjudicated on the federal
  2   level in the post-Bruen era, a state court in Massachusetts has addressed this issue
  3   on Second Amendment grounds and offers valuable guidance. See Commonwealth
  4   v. Donnell, No. 2211CR2835 (Mass. Dist. Ct. Aug. 3, 2023).7 In Donnell, a
  5   resident of New Hampshire was charged with carrying a firearm in Massachusetts.
  6   Mr. Donnell was not otherwise barred from owning or carrying firearms, and his
  7   conduct would have been legal in his home state.
  8          The court explained that Massachusetts failed to show any historical Second
  9   Amendment laws analogous to Massachusetts’ modern disparate and second-class
 10   treatment of nonresidents. See Donnell, passim. In fact, a plethora of historical laws
 11   existed that provided “traveler’s exceptions” to carry laws, effectively giving
 12   nonresidents more leeway to carry. California used to be no exception. See, e.g.,
 13   Fred L. Button, ed., General Municipal Ordinances of the City of Oakland,
 14   California (Oakland, CA; Enquirer, 1895), p. 218, Sec. 1, citing An Ordinance to
 15   Prohibit the Carrying of Concealed Weapons, No. 1141 (“It shall be unlawful for
 16   any person in the City of Oakland, not being a public officer or a traveler actually
 17   engaged in making a journey, to wear or carry concealed about his person without a
 18   permit, as hereinafter provided, any pistol”); see also Ordinance no. 84, Charter and
 19   Ordinances of the City of Sacramento, Prohibiting the Carrying of Concealed
 20   Deadly Weapons (1876) (“It shall be unlawful for any person, not being a public
 21   officer or traveler, or not having a permit from the Police Commissioners of the
 22   City of Sacramento, to wear or carry, concealed, any pistol, dirk, or other dangerous
 23   or deadly weapon.”). Copies of these ordinances are attached as Exs. J-K to the
 24   RJN.
 25          Indeed, one “can think of no other constitutional right which a person loses
 26   simply by traveling beyond his home state’s border into another state continuing to
 27         Republished online at https://www.docdroid.net/524o4XV/opinion-coffey-
             7
      comm-v-donnell-pdf (last visited Jan. 6, 2024).
 28
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  1   exercise that right and instantaneously becomes a felon subject to mandatory
  2   minimum sentence and incarceration.” Donnell, No. 2211CR2835 at 7-8.
  3          Moreover, it was not enough that Massachusetts had a process to issue
  4   nonresident CCW permits, because the nonresident version of the CCW permit was
  5   only valid for one year (as opposed to five years for a Massachusetts resident),
  6   thereby violating Equal Protection. See id. at 5-6. The Court concluded:
  7          An individual only loses a constitutional right if he commits an offense
             or is or has been engaged in certain behavior that is covered by 18
  8          USC section 922. He doesn’t lose that right simply by traveling into an
             adjoining state whose statute mandate that residents of that state obtain
  9          a license prior to exercising their constitutional right. To hold
             otherwise would inexplicably treat Second Amendment rights
 10          differently than other individually held rights.
 11   Id. at 8.
 12          Yet as constitutionally infirm as Massachusetts’s system is, even it, unlike
 13   California, provides some pathway for nonresidents to obtain a Massachusetts
 14   CCW permit to carry in Massachusetts. Nonresidents are barred in California from
 15   obtaining a CCW permit; issuing authorities are only authorized by the Penal Code
 16   to issue CCW permits to residents of their jurisdiction or to people who are
 17   principally employed within the jurisdiction. See Cal. Penal Code §§ 26150 &
 18   26155 (West 2024). That is the reason why Plaintiff Hoover was denied a permit.
 19   See Hoover Decl., ¶ 4.
 20          Nor are there indicia that other states’ permitting requirements are less
 21   rigorous than California’s, or result in permits being issued to prohibited people.
 22   E.g., while all States require background checks before issuing CCW permits,
 23   many, such as Utah and Arizona, also require training courses just as California
 24   does. See Ariz. Rev. Stat. § 13-3112(E)(6) &(N) (2024); Utah Code Ann. § 53-5-
 25   704 (West 2024).
 26          California may not deny law-abiding Americans the right to carry in
 27   California just because they are not residents, just as the state court in Donnell
 28   recognized. And just as with the out-of-state marriage licenses in Obergefell,
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  1   California may not deny the out-of-state CCW permits of its own residents. This
  2   Court should rule accordingly. 8
  3         B.     Plaintiffs will suffer irreparable harm if denied relief.
  4         In this circuit, “[i]t is well established that the deprivation of constitutional
  5   rights ‘unquestionably constitutes irreparable injury.’” Melendres v. Arpaio, 695
  6   F.3d 990, 1002 (9th Cir. 2012) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976));
  7   11A Charles Alan Wright et al., Federal Practice and Procedure § 2948.1 (2d ed.
  8   1995). The Ninth Circuit has imported the First Amendment’s irreparable-if-only-
  9   for-a-minute rule to cases involving other rights and, in doing so, has held a
 10   deprivation of these rights irreparable harm per se. Monterey Mech. Co. v. Wilson,
 11   125 F.3d 702, 715 (9th Cir. 1997). Most recently, the Ninth Circuit has reaffirmed
 12   the importance of the likelihood-of-success step, explaining that “[i]f a plaintiff
 13   bringing such a [constitutional] claim shows he is likely to prevail on the merits,
 14   that showing will almost always demonstrate he is suffering irreparable harm as
 15   well.” Baird, 81 F.4th at 1042.
 16         The Second Amendment should be treated no differently. See McDonald,
 17   561 U.S. at 780 (refusing to treat the Second Amendment as a second-class right
 18   subject to different rules); see also Ezell v. City of Chicago, 651 F.3d 684, 700 (7th
 19   Cir. 2011) (a deprivation of the right to arms is “irreparable and ha[s] no adequate
 20   remedy at law”).
 21         C.     Balancing of the Equities sharply favors plaintiffs.
 22         In contrast to Plaintiffs’ injury of being denied or delayed their Second
 23   Amendment right to bear arms, Defendants suffer no injury because there is no
 24   plausible, identifiable interest served by infringing Plaintiffs’ constitutional rights.
 25   Indeed, Defendants “cannot suffer harm from an injunction that merely ends an
 26   unlawful practice.” Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir 2013); see
 27         8
              Such a ruling would also provide relief to Plaintiffs on the issues of wait
      times and expense, as states like Arizona and Utah process nonresident CCW
 28   permit applications quickly and for under $100.
                                               23
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  1   also Valle del Sol Inc. v. Whitting, 732 F.3d 1006, 1029 (9th Cir. 2013) (“it is clear
  2   that it would not be equitable . . . to allow the state . . . to violate the requirements
  3   of federal law. . . .”).
  4          La Verne and LASD undoubtedly will both argue that their discretionary
  5   criteria could theoretically stop some dangerous person from being armed, as if any
  6   criminal intent on violent crime would be dissuaded by any permit requirement.
  7   Even if we ignore that Bruen abrogated this sort of interest-balancing argument,
  8   597 U.S. at 26, the argument is unsupported hogwash. Most states with CCW
  9   permit regimes (and most California counties) do not have any subjective criteria in
 10   their issuance policies, yet the data clearly establishes that Americans with CCW
 11   permits are an overwhelmingly law-abiding demographic, as three courts have
 12   recently confirmed, including in this district. See May v. Bonta, 2023 WL 8946212,
 13   at *19 (C.D. Cal. Dec. 20, 2023) (“Simply put, CCW permitholders are not the gun
 14   wielders legislators should fear”); Wolford v. Lopez, 2023 WL 5043805, at *32 (D.
 15   Haw. Aug. 8, 2023) (“the vast majority of conceal carry permit holders are law-
 16   abiding”); and Koons v. Platkin, 2023 WL 3478604, at *108 (D.N.J. May 16, 2023)
 17   (“despite ample opportunity for an evidentiary hearing, the State has failed to offer
 18   any evidence that law-abiding responsible citizens who carry firearms in public for
 19   self-defense are responsible for an increase in gun violence”).
 20          D.     Preliminary injunctive relief is in the public interest.
 21           “A plaintiff’s likelihood of success on the merits of a constitutional claim
 22   also tips the merged third and fourth factors decisively in his favor. Because ‘public
 23   interest concerns are implicated when a constitutional right has been violated, ... all
 24   citizens have a stake in upholding the Constitution,’” Baird, 81 F.4th at 1042 (citing
 25   Preminger v. Principi, 422 F.3d 815, 826 (9th Cir. 2005)). When challenging
 26   government action that affects the exercise of constitutional rights, “[t]he public
 27   interest . . . tip[s] sharply in favor of enjoining the” law. Klein v. City of San
 28   Clemente, 584 F.3d 1196, 1208 (9th Cir. 2009). Therefore, injunctive relief is in the
                                             24
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  1   public interest. Id.
  2   III.   CONCLUSION
  3          For the reasons above, Plaintiffs pray this Court will grant the requested
  4   preliminary relief and end the unconstitutional practices that delay or deny
  5   Plaintiffs’ constitutional right to carry. Given the lack of factual disputes and clear
  6   constitutional questions present in this motion, this Court should also consider
  7   applying Fed. R. Civ. P. 65(a)(2) to this motion and grant permanent relief to
  8   Plaintiffs.
  9          Respectfully Submitted,
 10 Dated: January 26, 2024                 MICHEL & ASSOCIATES, P.C.
 11                                         /s/ C.D. Michel
                                            C.D. Michel
 12                                         Counsel for Plaintiffs
 13
      Dated: January 26, 2024               LAW OFFICES OF DON KILMER
 14
                                            /s/ Don Kilmer
 15                                         Don Kilmer
                                            Counsel for Plaintiff The Second Amendment
 16                                         Foundation
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  1                      ATTESTATION OF E-FILED SIGNATURES
  2         I, C.D. Michel, am the ECF User whose ID and password are being used to
  3   file this MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
  4   PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION. In compliance
  5   with Central District of California L.R. 5-4.3.4, I attest that all signatories are
  6   registered CM/ECF filers and have concurred in this filing.
  7   Dated: January 26, 2024                         /s/ C.D. Michel
                                                      C.D. Michel
  8
  9
 10
 11              LOCAL RULE 11-6.2 CERTIFICATE OF COMPLIANCE
 12         The undersigned, counsel of record for Plaintiffs, certifies that this brief does
 13   not exceed 25 pages in length using Times New Roman 14-point font, which
 14   complies with this Court’s Standing Order of October 24, 2023.
 15   Dated: January 26, 2024                         /s/ C.D. Michel
 16                                                   C.D. Michel

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                              CERTIFICATE OF SERVICE
  1                     IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  2
      Case Name: California Rifle and Pistol Association, et al., v. Los Angeles County
  3   Sheriff’s Dept., et al.
  4   Case No.:    8:23-cv-10169-SPG (ADSx)
  5   IT IS HEREBY CERTIFIED THAT:
  6          I, the undersigned, am a citizen of the United States and am at least eighteen
      years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
  7   Beach, California 90802.
  8          I am not a party to the above-entitled action. I have caused service of:
  9      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
           PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
 10
      on the following parties, as follows:
 11
      Mark R Beckington
 12   Jane E. Reilley
      Christina R.B. Lopez, Deputy Attorney General
 13   California Department of Justice
      Office of the Attorney General
 14   300 South Spring Street, Suite 1702
      Los Angeles, CA 90013-1230
 15   jane.reilley@doj.ca.gov
      Christina.Lopez@doj.ca.gov
 16      Attorney for Defendants
 17   by electronically filing the foregoing with the Clerk of the District Court using its
      ECF System, which electronically notifies them.
 18
 19           Additionally, the following parties were served by transmitting a true copy
      via electronic mail as follows:
 20
      Dawyn R. Harrison, County Counsel                Bruce A. Lindsay
 21   Caroline Shahinian, Deputy County Counsel        Monica Choi Arredondo
      Office of the County Counsel                     JONES MAYER
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 23   cshahinian@counsel.lacounty.gov                  bal@jones-mayer.com
                                                       mca@jones-mayer.com
 24   Attorneys for Defendants Los Angeles
      County Sheriff’s Department and Sheriff          Attorneys for Defendants La
 25   Robert Luna                                      Verne Police Department and La
                                                       Verne Chief of Police Colleen
 26                                                    Flores
 27
 28

                                 CERTIFICATE OF SERVICE
Case 2:23-cv-10169-SPG-ADS Document 20-1 Filed 01/26/24 Page 35 of 35 Page ID
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  1         I declare under penalty of perjury that the foregoing is true and correct.
  2   Executed January 26, 2024
  3
                                                   Christina Castron
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